943 F.2d 49
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lawrence A. ROBINSON, Plaintiff-Appellant,v.Alvin J. LAW, Sheriff, Defendant-Appellee.
    No. 91-6104.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1991.Decided Sept. 9, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   T.S. Ellis, III, District Judge.  (CA-90-296-AM)
      Lawrence A. Robinson, appellant pro se.
      Mark Douglas Stiles, Wilcox &amp; Savage, Norfolk, Va., for appellee.
      E.D.Va.
      REMANDED.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      The notice of appeal in this case was received in the district court shortly after expiration of the appeal period.   Under  Houston v. Lack, 487 U.S. 266 (1988), the notice is considered filed as of the date appellant delivered it to prison officials for forwarding to the court.   The record does not reveal when appellant delivered the notice of appeal for mailing to the court.   Accordingly, we remand the case for the district court to obtain this information from the parties and make the requisite findings under Houston v. Lack.   The record, as supplemented, will then be returned to this Court for further consideration.
    
    
      2
      REMANDED.
    
    